            Case 1:20-cv-00908-RP Document 119 Filed 12/08/23 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 COMMODITY FUTURES                 TRADING
 COMMISSION,

                 Plaintiff,

 v.

 JONATHAN CARTU, RYAN MASTEN,                                1:20-CV-908-RP
 LEEAV PERETZ, NATI PERETZ, BLUE
 MOON INVESTMENTS, LTD., AND
 BAREIT MEDIA LLC D/B/A
 SIGNALPUSH

                 Defendants.




 AFFIRMATION OF DAVID B. HARRISON IN SUPPORT OF UNOPPOSED MOTION
              TO WITHDRAW APPEARANCE OF COUNSEL

       I, David B. Harrison, an attorney duly admitted pro hac vice to practice in this Court,

affirm the following under penalty of perjury:

       1.       I am an attorney for Defendant Jonathan Cartu           , and I am fully familiar

with all the proceedings in this action.

       2.       Cartu has instructed me, as well as counsel Joe Kendall and Eric H. Jaso, to

withdraw from the above-captioned action.

       3.       On November 14, 2023, Cartu confirmed in writing via email his instruction that

I, Joe Kendall, and Eric H. Jaso withdraw our appearances in the above-captioned action. A true

and accurate copy of the email is attached hereto as Exhibit A.




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             Case 1:20-cv-00908-RP Document 119 Filed 12/08/23 Page 2 of 2




        4.       Cartu does not have a mailing address in the United States. After discussion with

                                                                                        -related

filings in this action.



 Dated: December 8, 2023                             Respectfully submitted,

                                                     /s/ David B. Harrison
                                                     David B. Harrison (admitted pro hac vice)

                                                     Spiro Harrison & Nelson
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                                                     Montclair, NJ 07042
                                                     Tel. 973-232-0881
                                                     dharrison@shnlegal.com
                                                     Attorneys for Defendant Jonathan Cartu




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